      Case 19-03224                Doc 16           Filed 02/10/19 Entered 02/10/19 23:26:25                          Desc Imaged
                                                    Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Dan Valentine                                                     Social Security number or ITIN        xxx−xx−1994
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Illinois
                                                                                        Date case filed for chapter 7 2/7/19
Case number:          19−03224


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Dan Valentine

2.      All other names used in the dba Camelot Computer Enterprises
        last 8 years

3.     Address                               1324 Coolidge St.
                                             Sterling, CO 80751

4.     Debtor's attorney                     Dan Valentine                                          Contact phone _____________
                                             1324 Coolidge St.                                      Email: NONE
       Name and address                      Sterling, CO 80751

5.     Bankruptcy trustee                    Ronald R Peterson                                      Contact phone 312−222−9350
                                             Jenner & Block LLP                                     Email: rpeterson@jenner.com
       Name and address                      353 N. Clark Street
                                             Chicago, IL 60654
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                                  Certificate of Notice Page 2 of 4
Debtor Dan Valentine                                                                                                       Case number 19−03224


6. Bankruptcy clerk's office                    Eastern Division                                             Hours open:
                                                219 S Dearborn                                               8:30 a.m. until 4:30 p.m. except
    Documents in this case may be filed at this 7th Floor                                                    Saturdays, Sundays and legal
    address. You may inspect all records filed Chicago, IL 60604                                             holidays.
    in this case at this office or online at
    www.pacer.gov.
                                                                                                             Contact phone 1−866−222−8029

                                                                                                             Date: 2/8/19

7. Meeting of creditors                          March 11, 2019 at 12:00 PM                                  Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              219 South Dearborn, Office of
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            the U.S. Trustee, 8th Floor, Room
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     800, Chicago, IL 60604
                                                 Debtors must bring a picture ID and proof of
                                                 their Social Security Number.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 5/10/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
          Case 19-03224            Doc 16       Filed 02/10/19 Entered 02/10/19 23:26:25                         Desc Imaged
                                                Certificate of Notice Page 3 of 4
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 19-03224-CAD
Dan Valentine                                                                                              Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: lmendoza                     Page 1 of 2                          Date Rcvd: Feb 08, 2019
                                      Form ID: 309A                      Total Noticed: 27


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 10, 2019.
27520179       +A/R Concepts Inc,     18-3 E Dundee Rd Suite 330,    Barrington IL 60010-5275
27520369       +Advanced Disposal,     1660 Hubbard Ave,    Batavia IL 60510-1570
27520084       +Alexian Brothers Behavioral Health Hospital,      P O Box 14000,    Belfast ME 04915-4033
27520085       +Alliance Pathology Consultants Ltd,      800 Biesterfield Rd,    Elk Grove Village IL 60007-3361
27520097       +Amita Health,    22589 Network Place,     Chicago IL 60673-1225
27520100       +Digestive Disorders& Liver Center,     1220 W Higgins Road,     Hoffman Estates IL 60169-4033
27520083      ++ILLINOIS DEPARTMENT OF REVENUE,     BANKRUPTCY DEPARTMENT,    P O BOX 64338,
                 CHICAGO IL 60664-0291
               (address filed with court: Illinois Department of Revenue,        PO Box 19035,
                 Springfield IL 62794)
27520176       +Malcolm S. Gerald and Associates Inc,      PO Box 1259,   Oaks PA 19456-1259
27520145       +Nicor,    P O Box 5407,    Carol Stream IL 60197-5407
27520175       +OAC,    P O Box 500,    Baraboo WI 53913-0500
27520146       +Phyllis Medrano,     1324 Coolidge St,    Sterling CO 80751-2218
27520174       +RMS,    P O Box 361595,    Columbus OH 43236-1595
27520147       +Relationship Solutions Center,     937 N Plum Grove RD Suite D,      Schaumburg IL 60173-4771
27520148       +Santanna Energy Services,     7701 San Felipe Blvd Ste 200,     Austin TX 78729-7644
27520149       +TaskRabbit,    425 Second Street 5th Floor,     San Francisco CA 94107-1487
27520150       +U Haul,    2727 N Central Ave,    Phoenix AZ 85004-1158

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
db             +E-mail/PDF: pascal@rkfd.com Feb 09 2019 02:03:11       Dan Valentine,    1324 Coolidge St.,
                 Sterling, CO 80751-2218
tr             +EDI: QRRPETERSON.COM Feb 09 2019 06:48:00       Ronald R Peterson,    Jenner & Block LLP,
                 353 N. Clark Street,    Chicago, IL 60654-5474
27520098       +EDI: CAPITALONE.COM Feb 09 2019 06:48:00      Capital One,    P O Box 6492,
                 Carol Stream IL 60197-6492
27520099       +E-mail/Text: comedbankruptcygroup@exeloncorp.com Feb 09 2019 02:16:21        Commonwealth Edison,
                 P O Box 6111,   Carol Stream IL 60197-6111
27520180       +EDI: CMIGROUP.COM Feb 09 2019 06:48:00      Credit Management LP,     4200 International Parkway,
                 Carrollton TX 75007-1912
27520101       +EDI: DISCOVER.COM Feb 09 2019 06:48:00      Discover,    P O Box 6103,
                 Carol Stream IL 60197-6103
27520177       +E-mail/Text: Bankruptcies@nragroup.com Feb 09 2019 02:17:01        National Recovery Agency,
                 P O Box 67015,   Harrisburg PA 17106-7015
27520178       +EDI: SWCR.COM Feb 09 2019 06:48:00      Southwest Credit Systems,
                 4120 International Pkwy #1100,    Carrollton TX 75007-1958
27520581       +EDI: RMSC.COM Feb 09 2019 06:48:00      Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
27520151        EDI: USBANKARS.COM Feb 09 2019 06:48:00      US Bank,    P O Box 790408,    St Louis MO 63179
27520152       +E-mail/Text: wow.bankruptcy@wowinc.com Feb 09 2019 02:17:13        Wide Open West,   P O Box 4350,
                 Carol Stream IL 60197-4350
                                                                                               TOTAL: 11

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 10, 2019                                            Signature: /s/Joseph Speetjens
        Case 19-03224      Doc 16    Filed 02/10/19 Entered 02/10/19 23:26:25           Desc Imaged
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District/off: 0752-1         User: lmendoza              Page 2 of 2                  Date Rcvd: Feb 08, 2019
                             Form ID: 309A               Total Noticed: 27

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 8, 2019 at the address(es) listed below:
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
              Ronald R Peterson   rpeterson@jenner.com, rpeterson@ecf.epiqsystems.com;docketing@jenner.com
                                                                                            TOTAL: 2
